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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 IN RE:                                      :    CHAPTER 13
 JAMES CURTIS CRAWFORD                       :    CASE NUMBER A18-53288-WLH
       DEBTOR                                :

                     TRUSTEE’S SUPPLEMENTAL REPORT
                    FOLLOWING CONFIRMATION HEARING

        Nancy J. Whaley, Standing Chapter 13 Trustee to report back in ten (10)
        days following the Confirmation Hearing held on May 16, 2018:

        As to whether Debtor provided proof of March and May mortgage payments

        The Attorney for the Trustee has reviewed the case as instructed and:

        Recommends dismissal because:

        The Debtor has failed to provide proof of March and May mortgage payments

        Please enter an Order of Dismissal

        This the 31st day of May, 2018.

                              ___/s/_________________________
                              Ryan J. Williams,
                              Attorney for Chapter 13 Trustee
                              GA Bar Number 940874
                              303 Peachtree Center Ave., NE
                              Suite 120
                              Atlanta, GA 30303
 /jlr                         (678) 992-1201
  Case 18-53288-wlh        Doc 20    Filed 05/31/18 Entered 05/31/18 13:36:36             Desc
                                           Page 2 of 2
                                  CERTIFICATE OF SERVICE
Case No: A18-53288-WLH

This is to certify that I have this day served the following with a copy of the foregoing Chapter 13
Trustee's Supplemental Report Following Confirmation Hearing by depositing in the United
States mail a copy of same in a properly addressed envelope with adequate postage thereon.

Debtor(s):
JAMES CURTIS CRAWFORD
2224 CREEKVIEW TRAIL
DECATUR, GA 30035




By Consent of the parties, the following have received an electronic copy of the foregoing
Chapter 13 Trustee's Supplemental Report Following Confirmation Hearing through the
Court's Electronic Case Filing system.

Attorney for the Debtor(s):
BURROW & ASSOCIATES, LLC
court@legalatlanta.com




This the 31st day of May, 2018.


/s/____________________________________
  Ryan J. Williams
  Attorney for the Chapter 13 Trustee
  State Bar No. 940874
  303 Peachtree Center Avenue, NE
  Suite 120
  Atlanta, GA 30303
  678-992-1201
